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                                                      GUARANTY



                                                         among



                                         37 VENTURES, LLC, AS GUARANTOR




                                          YURI PIKOVER, AS SOLE MEMBER



                                                           and



                            ALIGNMENT DEBT HOLDINGS 1, AS COLLATERAL AGENT


                                                       dated as of

                                                      May 23, 2018




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                                                                       EXECUTION VERSION




                                                      GUARANTY


                        This GUARANTY (this "Agreement"), dated as of May 23, 2018, is made by and
                among 37 VENTURES, LLC, a Delaware limited liability company (“Guarantor”)
                whose address is 616 W. Stafford Rd, Thousand Oaks, California 91361, YURI
                PIKOVER, an individual and sole member of Guarantor (the “Sole Member”), whose
                address is 616 W. Stafford Rd, Thousand Oaks, California 91361 and ALIGNMENT
                DEBT HOLDINGS 1, LLC, a Delaware limited liability company, as collateral agent for
                the Secured Parties (as defined below) (in such capacity and together with any successors
                in such capacity, the "Collateral Agent").

                                                      RECITALS

                       WHEREAS, LARADA SCIENCES, INC., a Delaware corporation (the
                "Borrower"), has entered into a Loan Agreement of even date herewith among the
                Borrower, the Collateral Agent as Agent and the Lenders named therein (as amended,
                amended and restated, supplemented or otherwise modified from time to time in
                accordance with its provisions, the "Loan Agreement"; capitalized terms used herein
                without definition shall have the meanings ascribed thereto in the Loan Agreement).

                      WHEREAS, Guarantor is Controlled by the Sole Member, who, together with the
                Guarantor is the Principal Stockholder of the Borrower;

                      WHEREAS, each of the Guarantor and the Sole Member acknowledges that it
                and he will derive substantial direct and indirect benefits from the transactions
                contemplated by the Loan Agreement; and

                       WHEREAS, it is a condition precedent to the making of Loans by the Lenders
                from time to time that the Guarantor and Sole Member shall have executed and delivered
                this Agreement, and the Sole Member shall have executed and delivered a Pledge
                Agreement of even date herewith with respect to his Membership Interest (as hereinafter
                defined) to the Collateral Agent.

                       NOW, THEREFORE, in consideration of the premises and in order to induce
                the Lenders to make Loans from time to time, the parties hereby agrees as follows:




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                                                       ARTICLE I
                                                       DEFINITIONS

                      For purposes of this Agreement, the following terms shall have the following
                meanings:

                         "Additional Investments” has the meaning specified in Section 5.02(c).

                       “Bankruptcy Code" means Title 11 of the United States Code, as amended, or
                any similar federal or state law for the relief of debtors.

                         "Collateral Agent" has the meaning set forth in the Preamble hereof.

                        "Commodity Exchange Act" means the Commodity Exchange Act (7 U.S.C. § 1
                et seq.), as amended from time to time, and any successor statute.

                       "Communications" means, any notice, demand, communication, document or
                other material that any Loan Party delivers to the Collateral Agent in connection with any
                Loan Document or the transactions contemplated thereby which is distributed to the
                Collateral Agent or any Secured Party by means of electronic communications pursuant
                to Error! Reference source not found..

                       "Debtor Relief Laws" means the Bankruptcy Code and all other liquidation,
                bankruptcy, assignment for the benefit of creditors, conservatorship, moratorium,
                receivership, insolvency, rearrangement, reorganization or similar debtor relief laws of
                the US or other applicable jurisdictions in effect from time to time.

                      "Extension of Credit" means the making of the Initial Loan and the Delayed
                Draw Loan in accordance with the Loan Agreement.

                         "Guarantor" has the meaning set forth in the Preamble hereof.

                         "Indemnitee" has the meaning specified in Section 6.03.
                         “Investment” means, as to any Person, any direct or indirect acquisition or
                investment by such Person, whether by means of (a) the purchase or other acquisition of
                capital stock or other securities of another Person, (b) a loan, advance or capital
                contribution to, Guarantee or assumption of debt of, or purchase or other acquisition of
                any other debt or equity participation or interest in, another Person, including any
                partnership or joint venture interest in such other Person and any arrangement pursuant to
                which the investor Guarantees Indebtedness of such other Person, or (c) the purchase or
                other acquisition (in one transaction or a series of transactions) of assets of another
                Person that constitute a business unit. Notwithstanding the foregoing, “Investment” shall
                in all events exclude any Investment in Borrower other than the Guarantee made pursuant
                to this Agreement.
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                       “LTV Ratio” means the loan-to-value ratio of the Guarantor’s NAV to the
                Obligations of Borrower under the Loan Agreement.

                        “Membership Interest” means the entirety of the Sole Member’s ownership
                interest in the Guarantor.

                       “NAV” means the value of the Investments held by the Guarantor, plus any cash
                or cash equivalents so held minus any liabilities of Guarantor, the current valuation of
                which is as set forth on Exhibit A attached hereto, as such assets and valuation may be
                updated from time to time in accordance with Section 5.02(a)(ii) hereof. For the
                avoidance of doubt, NAV in all events shall exclude the value of any Investment in
                Borrower.

                         “Obligations” has the meaning specified in Section 2.01.

                         "Post-Petition Interest" has the meaning specified in Section 2.01(a).

                         "Secured Parties" means the Lenders.

                         “Sole Member” has the meaning set forth in the Preamble hereof.

                         "Subordinated Obligations" has the meaning specified in Section 4.02.

                        "Taxes" means any and all present or future income, stamp or other taxes, levies,
                imposts, duties, deductions, charges, fees or withholdings (including backup withholding)
                imposed, levied, withheld or assessed by any Governmental Authority, together with any
                interest, additions to tax or penalties imposed thereon and with respect thereto.

                         "Termination Date" has the meaning specified in Section 6.05(a).


                                                  ARTICLE II
                                       AGREEMENT TO GUARANTEE OBLIGATIONS

                        Section 2.01 Guaranty. The Guarantor, hereby absolutely, unconditionally and
                irrevocably guarantees to the Collateral Agent, for the ratable benefit of the Secured
                Parties, as primary obligor and not merely as surety,
                         (a)    the due and prompt payment by the Borrower of:
                                (i)   the principal of and premium, if any, and interest at the rate
                specified in the Loan Agreement (including interest accruing during the pendency of any
                bankruptcy, insolvency, receivership or other similar proceeding, regardless of whether

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                allowed or allowable in such proceeding ("Post-Petition Interest") on the Extensions of
                Credit, when and as due, whether at scheduled maturity, date set for prepayment, by
                acceleration or otherwise, and
                               (ii)    all other monetary obligations of the Borrower to the Collateral
                Agent and the Secured Parties under or in respect of the Loan Documents, when and as
                due, including fees, costs, expenses (including, without limitation, reasonable fees and
                expenses of counsel incurred by the Collateral Agent or any other Secured Party in
                enforcing any rights under this Agreement or any other Loan Document), reimbursement
                obligations, contract causes of action and indemnities, whether primary, secondary, direct
                or indirect, absolute or contingent, fixed or otherwise (including monetary obligations
                incurred during the pendency of any bankruptcy, insolvency, receivership or other similar
                proceeding, regardless of whether allowed or allowable in such proceeding); and
                        (b)     the due and prompt performance of all other covenants, duties, debts,
                obligations and liabilities of any kind of the Borrower and the other Loan Parties,
                individually or collectively, under or in respect of the Loan Agreement, this Agreement,
                the other Loan Documents or any other document made, delivered or given in connection
                with any of the foregoing, in each case whether evidenced by a note or other writing,
                whether allowed in any bankruptcy, insolvency, receivership or other similar proceeding,
                whether arising from an extension of credit, issuance of a letter of credit, acceptance,
                loan, guaranty, indemnification or otherwise, and whether primary, secondary, direct or
                indirect, absolute or contingent, due or to become due, fixed or otherwise; and

                        all such obligations in subsections (a) and (b), whether now or hereafter existing,
                being referred to collectively as the "Obligations". The Guarantor further agrees that all
                or part of the Obligations may be increased, extended, substituted, amended, renewed or
                otherwise modified without notice to or consent from the Guarantor and such actions
                shall not affect the liability of the Guarantor hereunder. Without limiting the generality of
                the foregoing, the Guarantor's liability shall extend to all amounts that constitute part of
                the Obligations and would be owed by any other Loan Party to any Secured Party under
                or in respect of the Loan Documents but for the fact that they are unenforceable or not
                allowable due to the existence of a bankruptcy, reorganization or similar proceeding
                involving such other Loan Party.

                        Section 2.02 Reinstatement. The Guarantor agrees that its guaranty hereunder
                shall continue to be effective or be reinstated, as the case may be, if at any time all or part
                of any payment of any Obligation is rescinded or must otherwise be returned by any
                Secured Party or any other Person, including the Collateral Agent upon the insolvency,
                bankruptcy or reorganization (or similar event) of the Borrower or any other Loan Party
                or otherwise, all as though such payment had not been made.


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                                               ARTICLE III
                                GUARANTY ABSOLUTE AND UNCONDITIONAL; WAIVERS

                        Section 3.01 Guaranty Absolute and Unconditional; No Waiver of
                Obligations. The Guarantor guarantees that the Obligations will be paid strictly in
                accordance with the terms of the Loan Documents, regardless of any law, regulation or
                order of any Governmental Authority now or hereafter in effect. The Obligations of the
                Guarantor hereunder are independent of the Obligations of the Borrower or any other
                Loan Party under any Loan Document. A separate action may be brought against the
                Guarantor to enforce this Agreement, whether or not any action is brought against the
                Borrower or any other Loan Party or whether or not the Borrower or any other Loan
                Party is joined in any such action. The liability of the Guarantor hereunder is irrevocable,
                continuing, absolute and unconditional and the Obligations of the Guarantor hereunder, to
                the fullest extent permitted by applicable law, shall not be discharged or impaired or
                otherwise affected by, and the Guarantor hereby irrevocably waives any defenses to
                enforcement it may have (now or in the future) by reason of:
                      (a)   any illegality or lack of validity or enforceability of any Obligation or any
                Loan Document or any related agreement or instrument;
                       (b)    any change in the time, place or manner of payment of, or in any other
                term of, the Obligations or any other obligation of any Loan Party under any Loan
                Document, or any rescission, waiver, amendment or other modification of any Loan
                Document or any other agreement, including any increase in the Obligations resulting
                from any extension of additional credit or otherwise;
                       (c)     any reduction, limitation, impairment or termination of the Obligations for
                any reason, or any taking, exchange, substitution, release, impairment or non-perfection
                of any Collateral or any other collateral, or any taking, release, impairment, amendment,
                waiver or other modification of any guaranty, for the Obligations;
                       (d)      any manner of sale, disposition or application of proceeds of any
                Collateral or any other collateral or other assets to all or part of the Obligations;
                       (e)     any default, failure or delay, willful or otherwise, in the performance of
                the Obligations;
                        (f)     the incapacity, lack of authority, death or disability of any Loan Party or
                any other Person, or any change, restructuring or termination of the corporate structure,
                ownership or existence of any Loan Party or any of its Subsidiaries or any insolvency,
                bankruptcy, reorganization or other similar proceeding affecting the Borrower or its
                assets or any resulting release or discharge of any Obligation;
                       (g)     any failure of any Secured Party or the Collateral Agent to disclose to any
                Loan Party any information relating to the business, condition (financial or otherwise),
                operations, performance, properties or prospects of any other Loan Party now or hereafter
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                known to such Secured Party; the Guarantor waiving any duty of the Secured Parties or
                the Collateral Agent to disclose such information;
                       (h)      the failure of any other Person to execute or deliver this Agreement or any
                other guaranty or agreement or the reduction of liability of the Guarantor or the release or
                reduction of liability of any other guarantor or surety with respect to the Obligations;
                      (i)     the failure of any Secured Party or the Collateral Agent to assert any claim
                or demand or to exercise or enforce any right or remedy under the provisions of any Loan
                Document or otherwise;
                       (j)     any defense, set-off or counterclaim (other than a defense of payment or
                performance) that may at any time be available to, or be asserted by, the Borrower against
                Secured Party; or
                        (k)     any other circumstance (including, without limitation, any statute of
                limitations) or manner of administering the Loans or any existence of or reliance on any
                representation by any Secured Party that might vary the risk of the Guarantor or
                otherwise operate as a defense available to, or a legal or equitable discharge of, any Loan
                Party or any other guarantor or surety.

                         Section 3.02 Waivers and Acknowledgements.
                        (a)     The Guarantor hereby unconditionally and irrevocably waives any right to
                revoke this Agreement and acknowledges that this Agreement is continuing in nature and
                applies to all presently existing and future Obligations.
                        (b)     The Guarantor hereby unconditionally and irrevocably waives promptness,
                diligence, notice of acceptance, presentment, demand for performance, notice of non-
                performance, default, acceleration, protest or dishonor and any other notice with respect
                to any of the Obligations and this Agreement and any requirement that any Secured Party
                protect, secure, perfect or insure any Lien or any property subject thereto.
                        (c)     This Agreement is a guaranty of payment and not of collection. The
                Guarantor agrees that the Collateral Agent need not attempt to collect any Obligations
                from the Borrower or any other Loan Party or to realize upon any Collateral or any other
                collateral, but may require the Guarantor to make immediate payment of all of the
                Obligations to the Collateral Agent when due, whether by maturity, acceleration or
                otherwise, or at any time thereafter.
                       (d)     The Guarantor hereby unconditionally and irrevocably waives any defense
                based on any right of set-off or recoupment or counterclaim against or in respect of the
                Obligations of the Guarantor hereunder.
                        (e)    The Guarantor acknowledges that the Collateral Agent may, at its election
                and without notice to or demand upon the Guarantor, foreclose on any Collateral
                (including any real property) or other collateral held by it by one or more judicial or non-
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                judicial sales, accept an assignment of any such Collateral or other collateral in lieu of
                foreclosure, compromise or adjust any part of the Obligations, make any other
                accommodation with the Borrower or any other guarantor or exercise any other right or
                remedy available to it against the Borrower or any other guarantor, without affecting or
                impairing in any way the liability of the Guarantor hereunder except to the extent the
                Obligations (other than contingent or unliquidated obligations or liabilities) have been
                paid in full or collateralized in full in Dollars. The Guarantor hereby waives any defense
                arising out of such election even though such election operates, pursuant to applicable
                law, to impair or to extinguish any right of subrogation, reimbursement, exoneration,
                contribution or indemnification or other right or remedy of the Guarantor against the
                Borrower or any other guarantor or any Collateral or any other collateral.
                        (f)    No failure on the part of the Collateral Agent or any Secured Party to
                exercise, and no delay in exercising, any right hereunder shall operate as a waiver
                thereof; nor shall any single or partial exercise of any right hereunder preclude any other
                or further exercise thereof or the exercise of any other right. The remedies herein
                provided are cumulative and not exclusive of any remedies provided by law.


                                                  ARTICLE IV
                                      GUARANTOR RIGHTS OF SUBROGATION, ETC.

                        Section 4.01 Agreement to Pay; Subrogation, Subordination, Etc. Without
                limiting any other right that the Collateral Agent or any other Secured Party has at law or
                in equity against the Guarantor, if the Borrower or any other Loan Party fails to pay any
                Obligation when and as due, whether at maturity, by acceleration, after notice of
                prepayment or otherwise, and such failure is not cured within the applicable cure period
                set forth in the Loan Agreement (if any) the Guarantor agrees to promptly pay the amount
                of such unpaid Obligations to the Collateral Agent in Dollars. Upon payment by the
                Guarantor of any sums to the Collateral Agent as provided herein, all of the Guarantor's
                rights of subrogation, exoneration, contribution, reimbursement, indemnity or otherwise
                arising therefrom against the Borrower shall be subordinate and junior in right of
                payment to the prior indefeasible payment in full in Dollars of all Obligations and
                termination of the Commitments. In furtherance of the foregoing, prior to the
                Termination Date, the Guarantor shall refrain from taking any action or commencing any
                proceeding against the Borrower or any other Loan Party (or its successors or assigns,
                whether in connection with a bankruptcy proceeding or otherwise) to recover any
                amounts in respect of payments made under this Agreement to the Collateral Agent or
                any other Secured Party. In addition, any indebtedness of the Borrower now or hereafter
                held by the Guarantor is hereby subordinated in right of payment to the prior payment in
                full in Dollars of the Obligations. If after the occurrence and during the continuance of an
                Event of Default, and after the passage of any applicable notice and cure periods, any
                payment shall be paid to the Guarantor in violation of this Section 4.01 on account of (a)
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                such subrogation, exoneration, contribution, reimbursement, indemnity or similar right or
                (b) any such indebtedness of the Borrower, such amount shall be held in trust for the
                benefit of the Secured Parties, segregated from other funds of the Guarantor, and
                promptly paid or delivered to the Collateral Agent in the same form as so received (with
                any necessary endorsement or assignment) to be credited against the payment of the
                Obligations, whether due or to become due, in accordance with the terms of the Loan
                Documents. If the Guarantor shall make payment to any Secured Party of all or any part
                of the Obligations, after indefeasible payment in full in Dollars of all Obligations, and the
                termination of all Commitments the Secured Parties will, at the Guarantor's request and
                expense, execute and deliver to the Guarantor, without recourse or representation or
                warranty, appropriate documents necessary to evidence the transfer by subrogation to the
                Guarantor of an interest in the Obligations resulting from such payment.

                       Section 4.02 Subordination. The Guarantor and Sole Member each hereby
                subordinate any and all obligations owed to either of them by the Borrower and each
                other Loan Party, including, without limitation any consulting fees or compensatory
                payments received by the Sole Member (the "Subordinated Obligations") to the
                Obligations to the extent provided below:
                        (a)     Except during the continuance of an Event of Default, (including the
                commencement and continuation of any proceeding against any Loan Party under any
                Debtor Relief Law), the Guarantor may receive regularly scheduled payments of
                principal and interest or other contractual payments on the Subordinated Obligations from
                any Loan Party. After the occurrence and during the continuance of any Event of Default,
                (including the commencement and continuation of any proceeding against any Loan Party
                under any Debtor Relief Law), the Guarantor shall not accept, demand or take any action
                to collect any payment on the Subordinated Obligations without the prior written consent
                of the Collateral Agent.
                       (b)    The Guarantor agrees that the Secured Parties shall be entitled to receive
                full payment in Dollars of all Obligations (including Post-Petition Interest) in any
                proceeding under any Debtor Relief Law against any other Loan Party before the
                Guarantor receives any payment on account of any Subordinated Obligations.
                        (c)      After the occurrence and during the continuance of any Event of Default,
                after the passage of any applicable notice and cure periods, (including the commencement
                and continuation of any proceeding against any Loan Party under any Debtor Relief
                Law), the Guarantor or Sole Member, as the case may be, shall receive any payments on
                the Subordinated Obligations, the Guarantor and the Sole Member, as the case may be,
                shall, as trustee for the Secured Parties, deliver such payments to the Collateral Agent on
                account of the Obligations (including Post-Petition Interest), together with any necessary
                endorsements or other instruments of transfer, without reducing or affecting the liability
                of the Guarantor under this Agreement in any respect.
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                        (d)    After the occurrence and during the continuance of any Event of Default,
                (including the commencement and continuation of any proceeding against any Loan Party
                under any Debtor Relief Law), the Collateral Agent is authorized and empowered (but
                not obligated), in its discretion, (i) in the name of the Guarantor and Sole Member, to
                collect and enforce, and to submit claims in respect of, Subordinated Obligations and to
                apply any amount so received to the Obligations (including Post-Petition Interest) or hold
                such amounts as Collateral for any Obligations, and (ii) to require the Guarantor (A) to
                collect and enforce and to submit claims in respect of, Subordinated Obligations and (B)
                to pay any amounts received on such obligations to the Collateral Agent for application to
                the Obligations (including Post-Petition Interest).


                                                 ARTICLE V
                                  REPRESENTATIONS AND WARRANTIES; COVENANTS

                     Section 5.01 Representations and Warranties. The Guarantor and Sole
                Member, jointly and severally, represents and warrants that:
                        (a)     Existence, Qualification and Power; Compliance with Laws. The
                Guarantor is (i) duly formed, validly existing and in good standing under the Laws of the
                State of Delaware, (ii) has all requisite power and authority and all requisite
                governmental licenses, authorizations, consents and approvals to (A) own or lease its
                assets and carry on its business, and (B) execute, deliver and perform its obligations
                under this Agreement, (iii) is duly qualified and is licensed and in good standing under
                the Laws of each jurisdiction where its ownership, lease or operation of properties or the
                conduct of its business requires such qualification or license, and (iv) is in compliance in
                all material respects with all Laws applicable to Guarantor.
                        (b)    Non-contravention. The execution, delivery and performance by the
                Guarantor and the Sole Member of this Agreement does not contravene or result in a
                default under (i) any contractual restriction binding on or affecting the Guarantor or the
                Sole Member, (ii) any court decree or order binding on or affecting the Guarantor or Sole
                Member or (iii) any Requirement of Law binding on or affecting the Guarantor or Sole
                Member.
                         (c)    Approvals. No authorization or approval or other action by, and no notice
                to or filing with, any Governmental Authority or other Person (other than those that have
                been duly obtained or made and which are in full force and effect) is required for the
                consummation of this Agreement or the due execution, delivery or performance by the
                Guarantor or Sole Member of this Agreement.
                        (d)    Validity. This Agreement has been duly executed and delivered and
                constitutes the legal, valid and binding obligations of the Guarantor and Sole Member,
                enforceable against the Guarantor and the Sole Member in accordance with its terms
                (except, in any case, as such enforceability may be limited by applicable bankruptcy,
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                insolvency, reorganization or similar laws from time to time in effect affecting creditors'
                rights generally and by general principles of equity).
                        (e)    Financial Information. The Guarantor is solvent and the execution of this
                Agreement does not and will not render the Guarantor insolvent. The NAV of the
                Guarantor represents more than one-third (1/3) of the Sole Member’s net worth. The
                NAV information set forth on Exhibit A attached hereto and the other financial
                information regarding the Guarantor and the Sole Member furnished to the Collateral
                Agent pursuant to Section 5.02(a) present fairly the financial condition of the Guarantor
                as at the dates thereof. There are no material liabilities of the Guarantor of any kind
                whatsoever, whether accrued, contingent, absolute, determined, determinable, or
                otherwise, and there is no existing condition, situation or set of circumstances which
                could reasonably be expected to result in such a liability, other than those liabilities
                provided for or disclosed in the most recently delivered financial statements of the
                Guarantor.
                        (f)     No Material Adverse Change. There has been no material adverse
                change in the net worth, assets, financial condition, or prospective financial position of
                the Guarantor since March 31, 2018. No litigation, investigation, or proceeding of or
                before any arbitrator or Governmental Authority is pending or, to the knowledge of the
                Guarantor and the Sole Member, threatened by or against the Guarantor or against any of
                its assets (i) with respect to this Agreement or any of the transactions contemplated
                hereby, (ii) which could have a material adverse effect on the net worth, assets, financial
                condition, or prospective financial position of the Guarantor.
                        (g)    Accuracy of Information. None of the factual information heretofore or
                contemporaneously furnished in writing to the Collateral Agent by or on behalf of the
                Guarantor or the Sole Member in connection with this Agreement or any other Loan
                Document contains any untrue statement of a material fact, or omits to state any material
                fact necessary to make any information not misleading, and no other factual information
                hereafter furnished in connection with this Agreement or any Loan Document by or on
                behalf of the Guarantor to the Collateral Agent will contain any untrue statement of a
                material fact or will omit to state any material fact necessary to make any information
                not misleading on the date as of which such information is dated or certified.
                      (h)    Conditions. There are no conditions precedent to the effectiveness of this
                Agreement that have not been satisfied or waived.
                        (i)     Information. Each of the Guarantor and Sole Member has, independently
                and without reliance upon any Secured Party and based on such documents and
                information as it has deemed appropriate, made its own credit analysis and decision to
                enter into this Agreement and any other Loan Document to which it is or may become a
                party, and has established adequate procedures for continually obtaining information
                pertaining to, and is now and at all times will be completely familiar with, the business,

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                condition (financial or otherwise), operations, performance, properties and prospects of
                the Borrower and each other Loan Party.
                        (j)    Investigation. Each of the Guarantor and the Sole member acknowledges
                and agrees that the Secured Parties shall have no obligation to investigate the financial
                condition or affairs of any Loan Party for the benefit of the Guarantor or Sole Member
                nor to advise the Guarantor or Sole Member of any fact respecting, or any change in, the
                financial condition or affairs of the Borrower or any other Loan Party that might become
                known to any Secured Party at any time, whether or not such Secured Party knows or
                believes or has reason to know or believe that any such fact or change is unknown to the
                Guarantor, or might (or does) materially increase the risk of the Guarantor as guarantor,
                or might (or would) affect the willingness of the Guarantor to continue as a guarantor of
                the Obligations.

                       Section 5.02 Covenants of Guarantor and Sole Member. Each of the
                Guarantor and Sole Member covenants and agrees that, after the date of this Agreement
                and until the Termination Date:
                        (a)     Financial Information. The Guarantor will furnish or the Sole Member
                shall cause the Guarantor to furnish to the Collateral Agent (i) copies of all income tax
                returns of the Guarantor and any requests for extensions of filing deadlines, within ten
                days of the filing of such returns or requests for extensions; (ii) updates to the NAV shall
                be delivered on June 30 and December 31 of each calendar year, provided, however, that
                if any event shall have occur or is expected to occur that would affect, either positively or
                negatively, the NAV by more than ten percent (10%), the Guarantor (or the Sole Member
                shall cause the Guarantor) to notify the Collateral Agent of such event and provide an
                updated NAV with such notice; and (iii) such other financial and other information
                related to the Guarantor and the transactions contemplated by the Loan Documents as the
                Collateral Agent may from time to time reasonably request.
                        (b)    Financial Covenants. The Guarantor shall, and the Sole Member shall
                cause the Guarantor to, (i) maintain an LTV Ratio of not less than 1.3x at all times; (ii)
                not make any distributions to the Sole Member or any other Person if, as the result of
                such distribution, the LTV Ratio would be less than 2.5x; or (iii) not incur any
                Indebtedness in excess of $5,000.00, pledge any interest in Guarantor’s assets or create or
                permit the imposition of any liens, claims or encumbrances on any of Guarantor’s assets.
                        (c)     Investments; Disposition of Membership Interest. The Sole Member
                covenants and agrees that prior to the Termination Date, (i) all equity interests of the
                Borrower that he may own as of, or acquire subsequent to, the date hereof shall at all
                times be in the name of and held by the Guarantor; (ii) he shall not Dispose of, or create
                or impose any Lien upon, all or any part of his Membership Interest in the Guarantor; and
                (iii) any additional Investments that the Sole Member shall make in any Person listed on
                Exhibit A attached hereto (as may be amended from time to time), or any other
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                Investment that the Sole Member may acquire in any businesses or ventures of a similar
                nature or at a similar stage of development as those listed on Exhibit A attached hereto
                (“Additional Investments”) shall be made in the name of, and held by, the Guarantor,
                unless otherwise agreed to in writing by Collateral Agent. For the avoidance of doubt,
                the term “Additional Investments” shall not include Investments in tangible personal
                property or Cash Equivalents.
                        (d)     Further Assurances. Within fifteen (15) days following the Closing
                Date, the Sole member shall deliver to the Collateral Agent evidence in a form reasonably
                satisfactory to the Collateral Agent that the Investments listed on Exhibit A are held of
                record by the Guarantor.

                        Section 5.03 Breach of Article V. Any breach of the representations,
                warranties or covenants made by either the Guarantor or the Sole Member under this
                Article V or any of such party’s other obligations under this Agreement that remains
                uncured for a period of ten (10) days following such breach shall constitute an Event of
                Default under the Loan Agreement.


                                                     ARTICLE VI
                                                    MISCELLANEOUS

                        Section 6.01 Right of Set-off. If an Event of Default shall have occurred and be
                continuing, after the passage of any applicable notice and cure periods, and upon the
                request of the Required Lenders to declare the Loans due and payable in accordance with
                Article VIII of the Loan Agreement and with the consent of the Collateral Agent, each
                Secured Party and each of their respective Affiliates is hereby authorized at any time and
                from time to time, to the fullest extent permitted by law, and without prior notice to the
                Guarantor or any other Loan Party, any such notice being expressly waived by the
                Guarantor, to set off and appropriate and apply any and all deposits (general or special,
                time or demand, provisional or final, in whatever currency) at any time held and other
                obligations (in whatever currency) at any time owing by such Secured Party or any such
                Affiliate to or for the credit or the account of the Guarantor against any and all of the
                obligations of the Guarantor now or hereafter existing under this Agreement or any other
                Loan Document to such Secured Party or its Affiliates whether direct or indirect, absolute
                or contingent, matured or unmatured, and irrespective of whether or not such Secured
                Party or Affiliate shall have made any demand under this Agreement or any other Loan
                Document and although such obligations of the Guarantor are owed to a branch, office or
                Affiliate of such Secured Party different from the branch, office or Affiliate holding such
                deposit or obligated on such indebtedness; provided that if any Defaulting Lender shall
                exercise any such right of setoff, such Defaulting Lender shall (a) immediately pay over
                to the Collateral Agent all such amounts so set off for further application in accordance

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                with the Loan Agreement and, pending such payment, segregate such amounts from its
                other funds, which amounts shall be deemed held in trust for the benefit of the Secured
                Parties, and (b) provide promptly to the Collateral Agent a statement describing in
                reasonable detail the obligations owing to such Defaulting Lender as to which it exercised
                such right of setoff. The rights of each Secured Party and each of their respective
                Affiliates under this Section are in addition to other rights and remedies (including other
                rights of set-off) that such Secured Party or such Affiliate may have. Each Secured Party
                agrees to notify the Guarantor and the Collateral Agent promptly after any such set off
                and appropriation and application; provided that the failure to give such notice shall not
                affect the validity of such set off and appropriation and application.

                        Section 6.02 Amendments. No term or provision of this Agreement may be
                waived, amended, supplemented or otherwise modified except in a writing signed by the
                Guarantor, the Sole Member, the Collateral Agent and the Required Lenders (except as
                expressly provided otherwise in the Loan Agreement) in accordance with Section 10.01
                of the Loan Agreement.

                         Section 6.03 Indemnification.
                        (a)     The Guarantor hereby agrees to indemnify and hold harmless the
                Collateral Agent (and any sub-agent thereof), each other Secured Party and each Related
                Party of any of the foregoing Persons (each such Person being called an "Indemnitee")
                from any losses, damages, liabilities, claims and related expenses (including the fees and
                expenses of any counsel for any Indemnitee and the costs and fees incurred by an
                Indemnitee that are associated with determining the value of any assets of the Guarantor),
                and shall indemnify and hold harmless each Indemnitee from all reasonable fees,
                expenses and time charges for attorneys who are employees of any Indemnitee, incurred
                by any Indemnitee or asserted against any Indemnitee by any Person (including the
                Guarantor or any other Loan Party) other than such Indemnitee and its Related Parties
                arising out of, in connection with or resulting from this Agreement (including, without
                limitation, enforcement of this Agreement) or any failure of any Obligations to be the
                legal, valid, and binding obligations of any Loan Party enforceable against such Loan
                Party in accordance with their terms, whether brought by a third party or by the
                Guarantor or any other Loan Party, and regardless of whether any Indemnitee is a party
                thereto; provided that such indemnity shall not, as to any Indemnitee, be available to the
                extent that such losses, claims, damages, liabilities or related expenses (i) are determined
                by a court of competent jurisdiction by final and nonappealable judgment to have resulted
                from the gross negligence or willful misconduct of such Indemnitee or (ii) result from a
                claim brought by the Guarantor or any other Loan Party against an Indemnitee for breach
                in bad faith of such Indemnitee's obligations under any Loan Document, if the Guarantor
                or such Loan Party has obtained a final and nonappealable judgment in its favor on such

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                claim as determined by a court of competent jurisdiction. This Section 6.03(a) shall not
                apply with respect to Taxes other than any Taxes that represent losses, claims, damages,
                or similar items arising from any non-Tax claim.
                        (b)      To the fullest extent permitted by applicable law, the Guarantor hereby
                agrees not to assert, and hereby waives, any claim against any Indemnitee, on any theory
                of liability, for special, indirect, consequential or punitive damages (as opposed to direct
                or actual damages) arising out of, in connection with, or as a result of, this Agreement,
                any other Loan Document or any agreement or instrument contemplated hereby, the
                transactions contemplated hereby or thereby, any Extension of Credit or the use of
                proceeds thereof. No Indemnitee shall be liable for any damages arising from the use of
                any information or other materials distributed by it through telecommunications,
                electronic or other information transmission systems in connection with this Agreement
                or the other Loan Documents or the transactions contemplated hereby or thereby by
                unintended recipients.
                       (c)      All amounts due under this Section shall be payable not later than fifteen
                (15) days after demand therefor.
                         (d)    Without prejudice to the survival of any other agreement of the Guarantor
                under this Agreement or any other Loan Documents, the agreements and obligations of
                the Guarantor contained in Section 2.01 (with respect to enforcement expenses), Section
                2.02 and this Section shall survive termination of the Loan Documents and payment in
                full of the Obligations and all other amounts payable under this Agreement.

                         Section 6.04 Notices.
                        (a)    Notices Generally. Except in the case of notices and other
                communications expressly permitted to be given by telephone (or by e-mail as provided
                in Section 6.04(b) below), all notices and other communications provided for herein shall
                be made in writing and mailed by certified or registered mail, delivered by hand or
                overnight courier service, or sent by facsimile as follows:
                               (i)    If to the Guarantor, the Borrower or Collateral Agent, to it at the
                address, telecopier number, electronic mail address or telephone number specified for
                such Person on Schedule 10.02 of the Loan Agreement.
                                (ii)   If to any Secured Party, to it at its address (or facsimile number)
                set forth in Schedule 2.01 of the Loan Agreement.
                             (iii)    If to the Sole Member, to his address set forth in the Preamble to
                this Agreement.
                Notices mailed by certified or registered mail or sent by hand or overnight courier service
                shall be deemed to have been given when received. Notices sent by facsimile during the
                recipient's normal business hours shall be deemed to have been given when sent (and if
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                sent after normal business hours shall be deemed to have been given at the opening of the
                recipient's business on the next business day).

                        (b)     Electronic Communications. Notices and other communications to the
                Collateral Agent hereunder may be sent by electronic communication (including e-mail
                and Internet or intranet websites) in accordance with procedures approved by the
                Collateral Agent. The Collateral Agent or the Guarantor may, in its discretion, agree to
                accept notices and other communications to it hereunder by electronic communications
                pursuant to procedures approved by it; provided that approval of such procedures may be
                limited to particular notices or communications.
                Unless the Collateral Agent specifies otherwise, (i) notices and other communications
                sent by e-mail shall be deemed received upon the sender's receipt of an acknowledgement
                from the intended recipient (such as return e-mail or other written acknowledgement),
                and (ii) notices or communications posted to an Internet or intranet website shall be
                deemed received upon the deemed receipt by the intended recipient at its e-mail address
                as described in the foregoing clause (i) of notification that such notice or communication
                is available and identifying the website address therefor; provided that, in the case of
                clauses (i) and (ii) above, if such notice, e-mail or other communication is not sent during
                the recipient's normal business hours, such notice, e-mail or communication shall be
                deemed to have been sent at the recipient's opening of business on the next business day.

                        (c)     Change of Address, Etc. Any party hereto may change its address or
                facsimile number for notices and other communications hereunder by notice to the other
                parties hereto.

                      Section 6.05 Continuing Guaranty; Assignments                   Under     the    Loan
                Agreement. This Agreement is a continuing guaranty and shall:
                       (a)     remain in full force and effect until the latest of (i) the payment in full in
                Dollars of the Obligations and all other amounts payable under this Agreement and
                termination of the Commitments and (ii) the Maturity Date (the "Termination Date");
                       (b)    be binding on the Guarantor and the Sole Member, and their respective
                permitted successors and assigns; and
                        (c)    inure to the benefit of and be enforceable by the Secured Parties and their
                respective successors and assigns.

                       Any Secured Party may assign or otherwise transfer all or any portion of its rights
                and obligations under the Loan Agreement (including all or any portion of its
                Commitments and the Extensions of Credit owing to it) to any other Person, and such
                other Person shall thereupon become vested with all the benefits in respect thereof
                granted to such Secured Party herein or otherwise, in each case as and to the extent
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                provided in Section 10.07 of the Loan Agreement. Neither the Guarantor nor the Sole
                Member shall have any right to assign its or his rights or obligations hereunder or any
                interest herein without the prior written consent of the Secured Parties.

                        Section 6.06 Severability of Provisions. Any provision hereof which is invalid,
                illegal or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to
                the extent of such invalidity, illegality or unenforceability without invalidating the
                remaining provisions hereof or affecting the validity, legality or enforceability of such
                provision in any other jurisdiction.

                        Section 6.07 Counterparts;          Integration;     Effectiveness;      Electronic
                Execution; Captions. This Agreement and any amendments, waivers, consents or
                supplements hereto may be executed in counterparts (and by different parties hereto in
                different counterparts), each of which shall constitute an original, but all taken together
                shall constitute a single contract. This Agreement and the other Loan Documents, and any
                separate letter agreements with respect to fees payable to the Collateral Agent, constitute
                the entire contract among the parties with respect to the subject matter hereof and
                supersede all previous agreements and understandings, oral or written, with respect
                thereto. This Agreement shall become effective when it shall have been executed by the
                Collateral Agent and when the Collateral Agent shall have received a counterpart hereof
                that bears the signature of the Guarantor. Delivery of an executed counterpart of a
                signature page to this Agreement by facsimile or in electronic (i.e., "pdf" or "tif") format
                shall be effective as delivery of a manually executed counterpart of this Agreement. The
                captions contained in this Agreement are inserted for convenience only and shall not
                affect the meaning or interpretation of this Agreement.

                         Section 6.08 Governing Law; Jurisdiction; Etc.
                        (a)    Governing Law. This Agreement and the other Loan Documents and any
                claim, controversy, dispute or cause of action (whether in contract or tort or otherwise)
                based upon, arising out of or relating to this Agreement or any other Loan Document and
                the transactions contemplated hereby and thereby shall be governed by, and construed in
                accordance with, the laws of the State of New York.
                        (b)    Submission to Jurisdiction. The Guarantor irrevocably and
                unconditionally agrees that it will not commence any action, litigation or proceeding of
                any kind whatsoever, whether in law or equity, or whether in contract or tort or
                otherwise, against the Collateral Agent or any Secured Party, or any of their respective
                Related Parties in any way relating to this Agreement or any other Loan Document or the
                transactions contemplated hereby or thereby, in any forum other than the courts of the
                State of New York sitting in New York County and of the United States District Court of
                the Southern District of New York and any appellate court from any thereof, and each of
                01161126-7


                                                             16
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                                                                              RECEIVED      Desc02/08/2021
                                                                                        NYSCEF:
                                             Exhibit D Page 20 of 26



                the parties hereto irrevocably and unconditionally submits to the exclusive jurisdiction of
                such courts and agrees that any such action, litigation or proceeding may be brought in
                any such New York State court or, to the fullest extent permitted by applicable law, in
                such federal court. Each of the parties hereto agrees that a final judgment in any such
                action, litigation or proceeding shall be conclusive and may be enforced in other
                jurisdictions by suit on the judgment or in any other manner provided by law. Nothing
                herein or in any other Loan Document shall affect any right that any Secured Party may
                otherwise have to bring any action or proceeding relating to this Agreement or any other
                Loan Document against the Guarantor or any other Loan Party or its properties in the
                courts of any jurisdiction.
                        (c)     Waiver of Venue. The Guarantor irrevocably and unconditionally waives,
                to the fullest extent permitted by applicable law, any objection that it may now or
                hereafter have to the venue of any such action or proceeding in any such court referred to
                in clause (b) of this Section. Each of the parties hereto hereby irrevocably waives, to the
                fullest extent permitted by applicable law, the defense of an inconvenient forum to the
                maintenance of such action or proceeding in any such court.
                       (d)     Service of Process. Each party hereto irrevocably consents to the service
                of process in the manner provided for notices in Section 6.04 and agrees that nothing
                herein will affect the right of any party hereto to serve process in any other manner
                permitted by applicable law.

                     Section 6.09 Waiver of Jury Trial. EACH PARTY HERETO HEREBY
                IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY
                APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY
                LEGAL PROCEEDING DIRECTLY OR INDIRECTLY RELATING TO THIS
                AGREEMENT OR ANY OTHER LOAN DOCUMENT OR THE TRANSACTIONS
                CONTEMPLATED HEREBY OR THEREBY WHETHER BASED ON CONTRACT,
                TORT OR ANY OTHER THEORY. EACH PARTY HERETO (A) CERTIFIES THAT
                NO AGENT, ATTORNEY, REPRESENTATIVE OR ANY OTHER PERSON HAS
                REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PERSON
                WOULD NOT SEEK TO ENFORCE THE FOREGOING WAIVER IN THE EVENT
                OF LITIGATION, AND (B) ACKNOWLEDGES THAT IT AND THE OTHER
                PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT
                AND THE OTHER LOAN DOCUMENTS BY, AMONG OTHER THINGS, THE
                MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

                                             {Signatures on following page}




                01161126-7


                                                            17
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                                                                                                                                                    Desc
                                                                                                      ExhibitExhibit A                                       NYSCEF: 02/08/2021
                                                                                                              D Page   21 of 26
                                                                                                             Dated May 17, 2018
                                    Summary                                                                  # of Shares held   Per Share                     Valuation                            Implied Value
     Issuer                         Description                              Security                         by Guarantor          Price                   Methodology               As of          ($'000s)
     Savara, Inc.                   Pre-revenue biotech orphan drug          Common Shares                            466,677   $      9.35    Closing share price as of 05/17/17   5/17/2017 $            4,363
     [NASDAQ: SVRA]                 development



     Mobile Cause, Inc.             SaaS for fundraising                     Common Shares                          4,764,594   $      0.08    409A                                 12/1/3117 $                381
     Private                                                                 Series [__] Preferred Shares          14,063,717   $      0.16                                                   $             2,250


     Caldera Medical, Inc.          Medical devices for niche markets        Common Shares                          4,107,383   $      0.30    409A                                 1/16/2017 $            1,232
     Private


     Bitvore Corp.                  Intelligence and data mining solution for Common Shares                           245,766   $      0.08    409A                                 1/28/2018 $                20
     Private                        financial services                        Series [__] Preferred Shares            876,052   $      0.68                                                   $                 600


     Neural Analytics               Pre-revenue med. device for ultra-sound Common Shares                              58,673   $      0.87    409A                                  1/1/2018 $                 51
     Private                        diagnostics of brain injury and dementia Series [__] Preferred Shares             502,615   $      4.98                                                   $             2,503
                                    conditions

     Molecular Vista, Inc.          Nano imaging start-up                                                                                                                                     $                 550
     Private


     Transcribeme, Inc.                                                                                                                                                                       $                 390
     Private


     EV Connect, Inc.                                                                                                                                                                         $                 700
     Private


     SageMedic, Inc.                                                                                                                                                                          $                 200
     Private


     Total Value (excl. Securities in Borrower)                                                                                                                                               $           13,241




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                                                                                         NYSCEF:
                                              Exhibit D Page 22 of 26

                                                                                     EXECUTED VERSION




                      IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
               executed as of the date first written above.


               GUARANTOR:


               37 VENTURES, LLC




               By:
               Yuri Eikover, as Manager and Individually as Sole Member



               Sworn to and subscribed before me by YURI PIKOVER, this               day of May, 2018.


                            SEE CALIFORNIA
                                                              Notary Public
                                             FORM
               {SEAL}                                         Name:
                                ATTACHED S-A
                                                              My commission expires on:




               BORROWER:


               LARADA SCIENCES, INC.




               By:
               Name: Claire Roberts
               Title: Chief Executive Officer



               AGENT:


               ALIGNMENT DEBT HOLDINGS 1, LLC




               By.
               Name: Vadim Margulis
               Title: Manager




                                             Guaranty Agreement - 37 Ventures, LLC
                                                        (Signature Page}
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                                                                                          NYSCEF:
                                               Exhibit D Page 23 of 26


                      A notary public or other officer completing this
                      certificate verifies only the identity of the individual
                      who signed the document to which this certificate
                      is attached, and not the truthfulness, accuracy, or
                      validity of that document.


                     State of California
                     County of Los Angeles

                     Subscribed and sworn to (or affirmed) before me on this
                     day of                          , 20\h . by


                     proved to me on the basis of satisfactory evidence to be the
                     person($) who appeared before me.


                                  .w.w.wvwvwwuwwvvwwwuwww

                                             John P. Tata                  |
                                        COMMISSION #2169656                g
                                  M NOTARY PUBLIC • CALIFORNIA F

                          4j|           LOS ANGELES COUNTY
                                    Commission Expires November 21, 2020
                                                                           *
                                                                               ire   (




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                                           Exhibit D Page 24 of 26

                                                                                     EXECUTED VERSION




                        IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
                 executed as of the date first written above.

                 GUARANTOR:

                 37 VENTURES, LLC


                 By: ___________
                 Yuri Pikover, as Manager and Individually as Sole Member


                 Sworn to and subscribed before me by YURI PTKOVER, this ___ day of May, 2018.
                                                           _________________________________
                                                          Notary Public
                 {SEAL}                                   Name:
                                                          My commission expires on:


                 BORROWER:

                 LARADA SCIENCES, INC.


                 By: ___------=-------------
                 Name: Claire Roberts
                 Title: Chief Executive Officer


                 AGENT:

                 ALIGNMENT DEBT HOLDINGS 1, LLC


                 By______________
                 Name: Vadim Margulis
                 Title: Manager




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                                                              ______________________________________
                {SEAL}                                        Notary Public
                                                              Name:
                                                              My commission expires on:
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                Title: Chief Executive Officer


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